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                                            Slip Op. 22-
                  UNITED STATES COURT OF INTERNATIONAL TRADE


  SECOND NATURE DESIGNS, LTD.,

                        Plaintiff,

            v.                                               Before: Gary S. Katzmann, Judge
                                                             Court No. 17-00271
  UNITED STATES,

                        Defendant.

                                     OPINION AND ORDER

[The court grants in part and denies in part the United States’ motion to file an amended answer
and supplemental pleading asserting counterclaim.]
                                                                    Dated: July 25, 2022

John M. Peterson, Neville Peterson LLP, of New York, N.Y., for Plaintiff Second Nature Designs,
LTD. With him on the brief was Patrick B. Klein.

Brandon A. Kennedy, Trial Attorney, Commercial Litigation Branch, Civil Division, U.S.
Department of Justice, of New York, N.Y., for Defendant United States. With him on the brief
were Brian M. Boynton, Principal Deputy Assistant Attorney General, Patricia M. McCarthy,
Director, Justin R. Miller, Attorney-In-Charge, International Trade Office. Of counsel on the brief
was Alexandra Khrebtukova, Senior Attorney, Office of the Assistant Chief Counsel, International
Trade Litigation, U.S. Customs and Border Protection, of New York, N.Y.

       Katzmann, Judge: Before the court is Defendant the United States’ (“the Government”)

motion for leave to file an amended answer and supplemental pleading asserting a counterclaim

against Plaintiff Second Nature Designs, Ltd.        The Government argues that its motion is

permissible, timely, and that the equities favor permitting it to amend and to assert a counterclaim.

Plaintiff responds that the Government’s motion must be denied because its proposed counterclaim

and amendments are barred by the finality of liquidation, impermissible on statutory and

Constitutional grounds, and unreasonably prejudicial to Plaintiff’s ability to participate in the

litigation. Except with respect to the proposed counterclaim, which the court redenominates as a
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defense pursuant to USCIT Rule 8(d)(2), the court is not persuaded by Plaintiff’s arguments and

grants the Government’s motion for leave.

                                        BACKGROUND

       This action involves the proper tariff classification of “thousands of decorative items”

reflecting “at least 852 distinct product styles” imported by Plaintiff. Joint Rule 56.3 Stmt. of

Material Facts as to which there are No Genuine Issues to be Tried, Jan. 28, 2022, ECF No. 91-1

(“56.3 Statement”). In general, the at-issue goods consist of a wide variety of items of botanical

home décor. Mot. to File an Am. Ans. and a Suppl. Pleading Asserting a Counterclaim at 2, Jan.

28, 2022, ECF No. 92 (“Def.’s Br.”); Pl.’s Resp. in Opp. to Def.’s Mot. to Am. at 2, Feb. 18, 2022,

ECF No. 95 (“Pl.’s Resp.”). The goods were originally liquidated by U.S. Customs and Border

Protection (“CBP”) under subheading 0604.90.601 of the Harmonized Tariff Schedule of the

United States (“HTSUS”); a classification Plaintiff timely protested. Compl. at 4–5, Dec. 21,

2017, ECF. No. 7. Following the denial of its protests, Plaintiff timely filed suit on November 17,

2017, contesting CBP’s classification and alleging that the goods are instead properly classified

under HTSUS provision 0604.90.3000.2 Summons, Nov. 17, 2017, ECF No. 1; Compl. at 4. The

Government answered Plaintiff’s complaint on April 12, 2018, defending CBP’s classification.

Ans., ECF No. 12.

       Discovery commenced thereafter, and was slated to conclude on November 2, 2018.

Scheduling Order, May 25, 2018, ECF No. 17. However, following numerous motions for


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 “Foliage, branches and other parts of plants, without flowers or flower buds, and grasses, mosses
and lichens, being goods of a kind suitable for bouquets or for ornamental purposes, fresh, dried,
dyed, bleached, impregnated or otherwise prepared: Other: Other.”
2
 “Foliage, branches and other parts of plants, without flowers or flower buds, and grasses, mosses
and lichens, being goods of a kind suitable for bouquets or for ornamental purposes, fresh, dried,
dyed, bleached, impregnated or otherwise prepared: Other: dried or bleached.”
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extension by the parties, discovery was ultimately extended until February 14, 2022 -- largely to

accommodate the parties’ joint efforts to establish the scope of the litigation and prepare an agreed-

upon statement of facts. See Order, Oct. 27, 2021, ECF No. 80; see, e.g., Joint Status Report at 1–

3, Dec. 1, 2021, ECF No. 84 (“JSR 84”) (discussing efforts to produce a joint statement of facts

pursuant to Rule 56.3 of the Court of International Trade). Shortly before the close of discovery,

on January 28, 2022, the Government filed a motion to amend its answer and assert a counterclaim

that the at-issue subject merchandise is, in part, correctly classified under HTSUS 6702.90.65.3 4

Def.’s Br. at 8–9. Plaintiff responded in opposition on February 18, 2022, Pl.’s Resp., and the

Government replied on March 22, 2022, Def.’s Reply in Supp. of its Mot. to File an Am. Ans. and

a Suppl. Pleading Asserting a Counterclaim, ECF No. 99 (“Def.’s Reply”).




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 “Artificial flowers, foliage and fruit and parts thereof; articles made of artificial flowers, foliage
or fruit: Of other materials: Other.”
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    As explained by the Government:

         Based on information provided by plaintiff at the time of importation describing its
         merchandise, CBP classified the merchandise upon liquidation under subheading
         0604.90.60, HTSUS . . . [which] carries a duty rate of 7 percent ad valorem. Now,
         based on our understanding of the facts of the merchandise, the facts of the record
         show that 97 product styles of the subject entries consist either solely of artificial
         flowers or fruit, or articles made of artificial flowers or fruit, and should be properly
         classified under subheading 6702.90.65, HTSUS . . . [which] carries a duty rate of
         17 percent ad valorem. Examples include articles that are constructed by gluing
         materials together to resemble flowers, pumpkins, or apples.

         Second Nature has paid duties to the Government on these styles at the rate of 7
         percent ad valorem – which is the rate of the provision in which CBP classified
         merchandise at the time of liquidation (subheading 0604.90.60, HTSUS) . . . .
         Consequently, to preserve our ability to collect the difference in duties should we
         prevail on the merits of the question of classification, we must assert a counterclaim
         to collect the money.”

Def.’s Br. at 9.
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                       JURISDICTION AND STANDARD OF REVIEW

       The court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1581(a),

which provides that the court “shall have exclusive jurisdiction of any civil action commenced to

contest the denial of a protest, in whole or in part, under section 515 of the Tariff Act of 1930.”

The court also has jurisdiction over the assertion of counterclaims, as provided in 28 U.S.C.

§ 1583.

                                          DISCUSSION

       I.        The Motion to File a Counterclaim

       As a threshold matter, the court adopts the conclusions of Cyber Power Sys. (USA) Inc. v.

United States, 46 CIT __, __, Slip Op. 22-85 (Jul. 20, 2022) and finds that there is no statutory

basis for the Government’s proposed counterclaim. Although 28 U.S.C. § 1583 grants the court

exclusive jurisdiction over “any counterclaim, cross-claim, or third-party action of any party”

involving the same “imported merchandise that is the subject matter” of an ongoing civil action

before the court, its jurisdictional grant is not a cause of action.5 Accordingly, the Government’s

motion to file a supplemental pleading asserting a counterclaim is denied.

          However, as established by Jarvis Clark Co. v. United States, 773 F.2d 873 (Fed. Cir.

1984), the court is permitted to “reach the correct decision” with respect to classification of

merchandise on its own initiative, regardless of the classifications asserted by the parties. 733 F.2d

at 878. Likewise, USCIT Rule 8(d)(2) provides that “[i]f a party mistakenly designates a defense



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  This is the case even though, as the Government notes, Congress may have intended to permit
the assertion of counterclaims through the enactment of 28 U.S.C. § 1583. Def.’s Br. at 11 (quoting
H.R. Rep. No. 96-1235 at 35 (1980)). Ultimately, the court is bound by the text of the statute,
which provides only that the court has jurisdiction to hear counterclaims properly asserted -- and
does not separately permit the assertion of such counterclaims where, as here, the Government
contests the final classification of disputed merchandise.
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as a counterclaim, or a counterclaim as a defense, the court must, if justice requires, treat the

pleading as though it were correctly designated, and may impose terms for doing so.” Here, in

exercise of its authority both to consider the totality of potential classifications and to redenominate

a counterclaim as a defense, the court permits the assertion of the Government’s alternative

classification as a defense within its amended answer.

       II.     The Motion to Amend
       Although USCIT Rule 15 provides that “the court should freely give leave [to amend] when

justice so requires, permitting amendment is ultimately within the discretion of the court. Leave

to amend may be denied on the basis of “undue delay, bad faith or dilatory motive on the part of

the movant, repeated failure to cure deficiencies by amendments previously allowed, undue

prejudice to the opposing party by virtue of allowance of the amendment, [or] futility of

amendment.” Intrepid v. Pollock, 907 F.2d 1125, 1128 (Fed. Cir. 1990) (quoting Foman v. Davis,

371 U.S. 178, 182 (1962)). The Government contends that the court should exercise its discretion

to permit amendment here in reflection of the timeliness of its motion and the support of the

equitable factors traditionally considered by the court. Def.’s Br. at 14 (citation omitted). Plaintiff

argues that the Government’s motion is impermissible, and that to the extent it is not impermissible

the equitable factors nevertheless require that it be denied. Pl.’s Resp. at 4–9, 20, 25. For the

following reasons, the Government prevails.

               A.      Futility
       Plaintiff alleges that the Government’s attempt to recover additional duties is futile because

the Government “has failed to identify a cause of action against Plaintiff, and because the

allowance of [a] counterclaim would violate the equal protection clause of the Constitution.” Pl.’s

Resp. at 9. Specifically, Plaintiff argues that the assertion of alternative classifications would

deprive “those who exercise their fundamental constitutional right to seek judicial review of a
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Government exaction in this Court” of “the protection of the finality of liquidation set out in 19

U.S.C. § 1514” and would subject them to the risk of “further loss of property” as a result of the

exercise of that right. Id. at 26.

        As the court has declined to find a cause of action permitting the Government to assert

counterclaims for re-classification, Plaintiff’s arguments regarding the permissibility of such

counterclaims are moot. To the extent that Plaintiff intends those arguments to extend to the

assertion of defenses alleging alternative classifications, they are unavailing.

        First, although the Government has no cause of action for the assertion of a counterclaim

for increased duties, it is not barred from otherwise arguing for a different classification at a higher

duty rate. See, e.g., Tomoegawa USA, Inc. v. United States, 12 CIT 112, 113, 122 (1988), aff’d

in part, vacated in part, per curiam 861 F.2d 1275 (Fed. Cir. 1988) (mem.), remanded to 15 CIT

162 (1991) (adopting the Government’s alternative classifications, proposed in light of new

information initially unavailable to CBP); Schlumberger Tech. Corp. v. United States, 39 CIT __,

__, 91 F. Supp. 3d 1304, 1323 (2015) aff’d 845 F.3d 1158 (Fed. Cir. 2017) (acknowledging the

Government’s assertion of alternative classifications in addition to CBP’s classification on appeal);

Dollar Trading Corp. v. United States, 67 Cust. Ct. 308, 315–16 (1971) (noting that the

presumption of correctness does not extend to the Government’s assertion of two additional

possible classifications for the subject merchandise). Accordingly, its assertion of alternative

classifications is permissible here.

        Second, Plaintiffs seeking judicial review of CBP’s assessment of duties are indeed barred

from enjoying the “protection” of final liquidation -- explicitly, by the text of 19 U.S.C. § 1514(a).

The law provides that CBP’s liquidation is “final and conclusive” except when “a civil action

contesting the denial of a protest” is brought before this court. 19 U.S.C. § 1514(a). This exception
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to the finality of liquidation permits importers seeking judicial review of CBP’s decisions to obtain

relief should they prevail. In other words, by providing for a stay of final and conclusive

liquidation, § 1514(a) allows the exercise of precisely the “fundamental constitutional right” that

Plaintiff claims to defend.

        Contrary to Plaintiff’s arguments, the entries at issue have not been finally liquidated. As

the Government notes, 19 U.S.C. § 1514(a) provides that with respect to any entry, liquidation,

reliquidation, or decision by CBP,

        [T]he classification and rate and amount of duties chargeable . . . shall be final and
        conclusive upon all persons (including the United States and any officer thereof)
        unless a protest is filed in accordance with this section or unless a civil action
        contesting the denial of a protest, in whole or in part, is commenced in the United
        States Court of International Trade.

Here, it is undisputed that Plaintiff timely contested the denial of the relevant protests by filing the

instant action. Summons; Def.’s Reply at 14. Accordingly, the liquidation of the entries contested

by Plaintiff is not final. Because the Government’s proposed alternative classification relates to

the same entries, it is not barred by finality, and is accordingly not futile.

                B.      Timeliness and Bad Faith

        The Government’s motion for leave to file an amended answer and supplemental pleading

asserting a counterclaim was submitted on January 28, 2022, nearly four years after its answer.

See Ans. While the elapsed time is substantial, the Government asserts that its motion was

nevertheless timely because (1) it was not initially provided with the information underlying its

proposed amendments and alternative classifications (characterized as counterclaims), and (2) it

timely submitted its motion upon learning that information. Def.’s Br. at 13–14. Plaintiff responds

that the Government was aware of the relevant information at least as of November 2018, when it
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deposed Plaintiff’s president regarding the subject merchandise, and that its motion is thus

untimely. Pl.’s Resp. at 5.

       The court has previously held that the timeliness of the Government’s assertion of

alternative classifications “depends upon when the Government acquired knowledge of the facts

and circumstances that form the basis” of its proposed classifications. Tomoegawa, 15 CIT at 186.

It is the view of the court that, as previously stated in Tomoegawa, the Government was obliged

to submit its alternative classifications within a reasonable time upon acquiring the necessary

knowledge. Id.

       The court finds that the motion was timely filed. Throughout the multi-year discovery

process, the Government consistently highlighted its concern that the merchandise was

misclassified, and diligently and in good faith attempted to identify the characteristics of specific

product styles within the subject merchandise such that they could be liquidated under the

appropriate HTSUS provisions. See Def.’s Br. at 13–14; see, e.g. Def.’s Mot. to Compel Pl. to

Supplement its Resps. to Def.’s Interrogs. and Reqs. for Produc. at 3, Aug. 7, 2020, ECF No. 38

(“Def.’s Mot. to Compel”) (noting that “[b]ased on the information produced by plaintiff thus far,

it is likely that many of the styles covered by the subject entries are properly classifiable in

provisions other than the subheading claimed by plaintiff in its complaint . . . [h]owever, as we

explain below, plaintiff has not provided the Government with sufficient information to ascertain

the specific merchandise at issue in this case, the physical characteristics and composition of that

merchandise, and the manufacturing of that merchandise,” and accordingly requesting the court to

compel Plaintiff to supplement its discovery responses); Joint Status Report at 2, May 5, 2021,

ECF No. 56 (“JSR 56”) (representing that the Government is “in the process of seeking internal

government approval to assert counterclaims for underpaid duties on products imported under
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cover of the subject entries that were previously inaccurately or incompletely described by

Plaintiff”); JSR 84 at 2 (indicating that Plaintiff had, since the court’s order of November 10, 2021,

“obtained and added additional information” on one of the categories of subject merchandise to

the joint statement of facts, and again noting that the Government “is in the process of finalizing

its motion to seek leave . . . to assert counterclaims for underpaid duties on products imported

under cover of the subject entries that were previously inaccurately or incompletely described by

Plaintiff”).

        As the court has previously held, even where substantial time has elapsed between the

filing of a defendant’s answer and the assertion of proposed alternative classifications by

amendment, evidence that the defendant “exercised reasonable diligence” in identifying the

appropriate classification supports a determination of timeliness. Tomoegawa, 15 CIT at 188.

Applying this principle in Tomoegawa, the court found that the Government’s motions to amend

were not untimely despite being filed seven and eight years after the original answers and four

years after the Government “became aware of the existence of the facts necessary” to assert an

alternative classification because (1) the Government’s duty to amend did not arise until after the

Federal Circuit affirmed the re-classification of analogous merchandise in a related case, and (2) it

diligently pursued its re-classification arguments in the wake of the Federal Circuit’s ruling. Id.

at 188–89. Here, the parties jointly acknowledged that Plaintiff was still obtaining “additional”

information regarding the at-issue product styles as late as December 2021, only one month before

the Government filed the instant motion. JSR 84 at 2. As the Government thus did not “gain full

knowledge of the facts forming the basis” of its alternate classifications until at least December

2021, despite diligently and in good faith working to obtain the relevant information, the court
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concludes that its submission of a motion to amend on January 28, 2022, was timely. Accordingly,

the factors of timeliness and good faith favor allowing amendment.6

                C.      Prejudice

        Plaintiff’s argument that it will suffer “significant prejudice” if the motion is granted is

unavailing. Plaintiff was aware of the Government’s belief that the subject merchandise was

properly classifiable in “many tariff provisions other than” those asserted by Plaintiff and CBP at

least as of August 7, 2020, when the Government expressed such belief in its motion to compel.

Def.’s Mot. to Compel at 3. Likewise, Plaintiff was aware of the Government’s intention to assert

alternative classifications at least as of May 5, 2021, when the Government stated that intention in

the parties’ Joint Status Report. JSR 56 at 2. The Government’s motion is accordingly “not a

surprise to [P]laintiff,” Tomoegawa, 15 CIT at 188, nor did the Government’s delay deprive

Plaintiff of “an adequate opportunity to prepare its case concerning the new issues raised,” Pl.’s

Resp. at 8. Plaintiff was amply warned of the possibility that the Government would assert

alternative classifications, and is thus not prejudiced by their assertion at this stage.

        Likewise, the procedural posture of the case does not support the denial of the

Government’s motion. While the motion was submitted near the end of discovery (it was filed on

January 28, 2022, with discovery slated to end on February 14, 2022) the discovery period had not

yet ended. See Order, Oct. 27, 2021, ECF No. 80 (granting parties’ joint motion to amend

scheduling order). Furthermore, by the time the Government filed its motion, the discovery period

had already been extended nine times from its original end date of November 2, 2018. Had

Plaintiff been concerned that it would be deprived of additional necessary discovery despite the



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  For the same reasons, the court concludes that there is no evidence that the Government failed to
take advantage of prior opportunities to cure deficiencies in its answer.
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four-year-long discovery process it had already undertaken, it had adequate time to file another

request for extension following the Government’s motion to amend. It did not, and cannot now

claim that resultant non-specific harms require denial of the Government’s motion.

          Accordingly, the court concludes that the factors under consideration favor granting the

Government’s motion to amend its answer.

                                            CONCLUSION

          For the reasons stated, it is hereby

          ORDERED that the Government’s motion to file a supplemental pleading asserting a

counterclaim is denied; it is further

          ORDERED that the Government’s motion to file an amended answer is granted; it is

further

          ORDERED that the proposed counterclaim is redenominated a defense pursuant to USCIT

Rule 8(d)(2); and it is further

          ORDERED that the Government shall file an amended answer incorporating such defense

within thirty days of the date of this order.


                                                                  /s/     Gary S. Katzmann
                                                                           Judge
 Dated: July 25, 2022
        New York, New York
